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IN THE UNITED STATES BANKRUPTCY COURT

FOR TE DISTRICT OF DELAWARE

IN RE: Chapter 11
AMERICAN HOME MORTGAGE Case No. 07-11047
(CSS)

HOLDINGS, INC. et al
A Delaware corporation
Debtors
ORDER AND JUDGMENT
1. This matter comes before the Court on Motion by Hussain Kareem, Claimant in the
action, To Enter Judgment as a Matter of Law agzinst the Debtors. Upon consideration
of the Motion, the Debtors have failed to comply with TILA 15 U.S.C. 1635 (b) right to
rescission and under applicable Regulation Z. Claimant initially presented his Rescission
Demand on or about October 18'", 2008 to Debtor’s Principal CEO’s office.
2. Itis hereby: Ordered that The Motion is GRANTED, pursuant to Federal Civil Rules
Civil Rule 52, as fully adjudicated in favor of the Claimant, as a Matter of Law.
3. Itis FURTHER ORDERED that the Note and Mcrtgage are discharged from being
lienable instruments encumbering Claimants real 2state property.

4. Monetary claims and damages entered on behalf of the Claimant, shall be determined by

this court after appropriate review of facts or hearings yet to be determined,

5. That the Security Deed and Promissory note are declared void under applicable Federal
TILA statute and for American Home Holdings, Inc. Claimant under Georgia’s Fair
Lending Act, O.C.G. A. 7-6A-7 (e) and for markvting high cost loan voidable.

6. That the original security deed and promissory note are to be returned or surrendered
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over to the Claimant, immediately, within 30 days. Under Georgia’s Commercial Code,
OCGA 11-3-604 (a) Discharge by Cancellation or Renunciation, whereas, the surrender

of the instrument discharges the obligation.

7. SO ORDERED

U.S. States Bankruptcy Judge,
Christopher Sontchi, by Designation

Date: August 12, 2011

cc:
Mr. Hussain Kareem

2197 Carlysle Creek Drive
Lawrenceville, GA 30044
